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GEOFFREY S. BERMAN

United States Attorney for the

Southern District of NeW York

By: ANDREW C. ADAl\/IS
Assistant United States Attorney
One Saint Andrew’s Plaza
New York, New York 10007
Tei. (2] 2) 637-2340

UNITED STATES DISTRICT COURT
SOUTHERN DISTRIC'I` OF NEW YORK

_____________________________________ x
UNITED STATES OF AMERICA
-v.- VERIFIED COMPLAIN’I`
EQB_EQ_RMT_UBE__
$400,000 IN UNITED STATES CURRENCY, : 18 Civ.
Defendant~ip~@.
_____________________________________ X

Plaintiff United States of Arnerica, by its attorney Geoffi'ey S. Berrnan, United
States Attorney for the Southern District of NeW York, for its verified complaint, alleges, upon
information and belief, as follows:

l. JURISDICTION ANI) VENUE

1. - This action is brought pursuant to Title` 18, United States Code, Seetion' 981
by the United States of America seeking the forfeiture of $400,000 in United States currency (the
“Defendant Funds” or the “defendant-in~rem”).

2. This Court hasjurisdiction pursuant to Title 28, United States Code, Section
l 3 55.

3. Venue is proper under Title 28, United States Cocle, Section 1355(b)(1)(A)
because eertain actions and omissions giving rise to forfeiture took place in the Southern District
of New York and pursuant to Title 28, United States Code, Seotion 1395 because the Defendant

Funds have been transferred to the Southern District of New York.

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4. The Defendant Funds constitute property involved in money laundering and
proceeds of wire fraud, and are thus subject to forfeiture to the United States pursuant to Title 18,
United States Code, Section 98l(a)(1)(A) and (a)(l)(C).

5, Upon entry of a final order forfeiting the Defendant Funds to the United
States, the Government intends to recommend that the Defendant Funds be distributed to victims
of the payday lending scheme perpetrated by Scott Tucker (“Tucker”), consistent With the
applicable Departrnent of Justice regulations, through the ongoing remission process See 18
U.S.C. § 981(e)(6) and 28 C.F.R. Part 9.

II. BACKGROUND

6. From at least in or about 2012 through in or about 2017, Central States
Capital Markets, LLC (“CSCM”), violated the Bank Secrecy Act (“BSA”), 'I`itle 31, United States
C_ode, Sections 5318(g) and 5322(a), and its implementing regulations, through CSCM’s Willful
failure to report suspicious transactions relevant to a possible violation of law or regulations as
required by the Seeretary of Treasury. CSCM’s violations included the failure to timely report
suspicious banking activities of Tucker, a longtime customer.

7. On Qctober 13, 2017 , Tucker and his attorney, 'I`imothy Muir, were
convicted in the United District Court for the Southern District of New York of, among other
things, wire fraud and money laundering, in violation of Title 12§, United States Code, Sections
1343 and 1956, for their roles in perpetrating a massive payday lending scheme Frorn in or about
the late 1990s through in or about 2013, through various companies that he owned and controlled
(the “Tucker Payday' Lenders”), Tucker extended short-term, high-interest, unsecured loans,
commonly referred to as “payday loans,” to individuals in New York and around the country at

interest rates as high as 700 percent orr more and in violation of the usury laws of numerous states,

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including New York. In order to induce customers to obtain the loans and to make payments on
the loans exceeding the amounts allowed by law and the amounts which the customers were told
they were required to pay, Tucker made material misrepresentations concerning the true cost of te
payday loans offered by the Tucker Payday Lenders and the identity of the lender offering the
loans. Tucker sought to inoculate himself against applicable laws by entering into a series of sham
relationships With certain Native American tribes (the “Tribes”) in which he assigned nominal
ownership of his payday lending companies to certain corporations created under the laws of the
Tribes in order to conceal his ownership and control of the Tucker Payday Lenders and gain the
protection of tribal sovereign immunity-a legal doctrine that generally prevents states from
enforcing their laws against Native American tribes

8. As described in greater detail in the attached Statement of Facts, Tucker
used CSCM to launder millions of dollars of proceeds from his illegal payday lending scheme

III. THE DEFENDANT-IN-REM#
9. On or about December 10, 2018, CSCM entered into a Deferred

Prosecution Agreement (the “DPA”) with the United States with respect to its violations of the

BSA. Under the DPA, CSCM agreed to forfeit $400,000 in United States currency to the United '

States. Pursuant to the DPA, CSCM transferred the Defendant Funds to the United States in the
Southern'District of New York as a substitute res for funds processed by CSCM on behalf of
Tucker in connection with his criminal conducts and as set forth in the Statement of Facts. CSCM
agrees that the Defendant Funds are subject to civil forfeiture to the United States pursuant to 18
U.S.C. § 981(a)(l)(A) and (a)(l)(C).

10. The Deferred Prosecution Agreement and the accompanying Statement of

F acts are attached as Exhibit l and are incorporated by reference herein.

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lv. CLAiM FoR Fo`RFEITURE

 

ll. lncorporated herein are the allegations contained in paragraphs one through
ten of this Verifled Complaint.

12. Title 18, United States Code, Section 981(a)(1)(C) subjects to forfeiture
“[a]ny property, real -or personal, which constitutes or is derived from proceeds traceable to . . . any
offense constituting ‘specifrc unlawful activity’ (as defined in section 1956(c)(7) of this title), or a
conspiracy to commit such offense.”

13. “Specified unlawful activity” is defined in Title 18, United States Code,
Section 1956(0)(7), and the term includes, among other things, any offense listed under Title 18,
United States Code, Section 1961(1). Section 1961(1) lists, among other things, violations of
wire fraud (Section 1343)._

14. Title 18, United States Code, Section 981(a)(1)(A) subjects to forfeiture
“[a]ny property, real or personal, involved in a transaction or attempted transaction in violation of
section 1956, 1957 or 1960 of this title, or any property traceable to such property.”

15. By reason of the foregoing, the Defendant Funds are subject to forfeiture to
the United States of America pursuant to Title 18, United States Code, Section 981(a)(1)(A) and
(a)(l)(C), because the Defendant Funds constitute proceeds of wire fraud, in violation of Title 18,
United States Code, Section 1343, and property involved in money laundering, in violation of Title
18, United States Code, Section 1956.

WHEREFORE, plaintiff United States of America prays that process issue to
enforce the forfeiture of the defendant-indem and that all persons having an interest in the
defendant-in~rem be cited to appear and show cause Why the forfeiture should not be decreed, and

that_this Court decree forfeiture of the defendant-in~rem to the United States of America for

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disposition according to law, and that this Court grant plaintiff such further relief as this Court may

deem just and proper, together with the costs and disbursements of this action.

Dated: New York, New York
December 19, 2018

By:

GEOFFREY S. BERMAN
United States Attorney for the
Southern District of New York
Attorney for the Plaintiff

United States y

NDREW C. Ab’AMs\
Assistant United States Attomey
One St. Andrew’s Plaza

New York, New York 10007
Telephone: (212) 637-2340

   

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VERIFICATION

STATE OF NEW YORK )
COUNTY OF NEW YORK
SOUTHERN DISTRICT OF NEW YORK )
JERRY WHITTEN, being duly sworn, deposes and says that he is a Special Agent
With the Internal Revenue Service - Criminal Investigations (“IRS-Cl”), and as such has
responsibility for the within action; that he has read the foregoing complaint and knows the
contents thereof, and that the same is true to the best of his knowledge, information, and belief
The sources of deponent’s information on the ground of his belief are official
records and files of the United States, information obtained directly by the deponent, and

information obtained by other law enforcement ofticials, during an investigation of alleged

violations of Title 18, United States Code.

    

JERRY WHITTEN
Special Agent

Internal Revenue Service ~
Criminal Investigations

Sworn to before me this
/§/Q day of December 2018

\\\/\?/\/\/\»1 025 QO/;§U`/\

NoTARY PUBLIC /`

 

_ NOT/\RYPUBL\G State of Kansas
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EX. l

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U.S. Department of .Iustice

'§:/ ` United S!ates Atromey
Sourhem Dism`ct ofNew York

 

nw Sfl'vl'o J. M'o.lll Bul'fdr`ng
Dn¢ Sol'nhlndrew ’s lel
New york N¢w York 16007

December 10, 2018

Douglas R. Jcnsen, Esq.
Park Jensen Bennett LLP
40 Wall Strecl;

New York, NY 10005

Re: Central States Capital Markcts - Deferred Prosecution Agreement

Dear Mr. lensen:

Pursuant to the understandings specified below, the Ot`fice of the United States
Attorney for the Southern District of New York (the “Office”) and the defendant Central States
Capital Markets, LLC (“CSCM"), under authority granted by its two managing directors in the
form of a director’s resolution (a copy of which is attached as Exhibit A), hereby enter into this
Deferred Prosecution Agreement (the “Agreement").

The Criminal Information

1. CSCM consents to the filing of a one-count information (the “lnformation”)
in the United States District Court for the Southem District of New York (the “Court”), charging
CSCM with willful failure to timely file a Suspicious Activity Report (“SAR"), in violation of Title
31, United States Code, Scctions 5318 and 5322(a) and Title 31, Code of Federal Regulations,
Section 1023.320. A copy of the Information is attached as Exhibit B. This Agreement shall take
effect upon its execution by both parties

Acceglance pf §esponsibility

2. CSCM stipulates that the facts set forth in the Statement of Facts, attached
hereto as Exhibit C and incorporated herein, are true and accurate, and ldmits, accepts and
acknowledges that it is responsible under United States law for the acts of its officers and employees
as set forth in the Statement of Facts. Should the Office pursue the prosecution that is deferred by
this Agreement, CSCM stipulates to the admissibility of the Statement of Facts in any proceeding
including any trial and sentencing proceeding

Pagment and Forl`eiture Obligation

3. As a result of the conduct described in the Inforrnation and the Statement of
Facts, CSCM agrees to pay $400,000 (the “Stipulated Forfeiture Amount") to the United States,
pursuant to this Agreement.

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4. CSCM agrees that the Stipulated Forfeiture Amount represents a substitute
res for funds processed by CSCM on behalf of Scott Tucker as a result of the conduct described in
the Statement of Facts, and is subject to civil forfeiture to the United States pursuant to 18 U.S.C.
§ 981(a)(l)(A) and (C).

5. CSCM further agrees that this Agreement, the Inforrnation and the
Statement of Facts may be attached and incorporated into a civil forfeiture complaint (llle “Civil
Forfeiture Complaint”) that will be filed against the Stipulated Forfeiture Amount. By this
agreement, CSCM expressly waives any challenge to that Civil Forfeiture Compiaint and consents
to the forfeiture of the Stipulated Forfeiture Amount to the United States. CSCM agrees that it will
not file a claim with the Court or otherwise contest the civil forfeiture of the Stipulated Forfeiture
Amount and will not assist a third party in asserting any claim to the Stipulated Forfeiture Amount.
CSCM also waives all rights to service or notice of the Civii Forfeiture Complaint.

6. CSCM shall transfer the Stipulated Forfeiture Amount to the United States
by no later than December 19, 2018 (or as otherwise directed by the Ofl'lce following such date).
Such payment shall be made by wire transfer to the United States Treasury, pursuant to wire
instructions provided by the Oftice. If CSCM fails to timely make the payment required under this
paragraph, interest (at the rate specified in Title 28, United States Code, Section 1961) shall accrue
on the unpaid balance through the date of payment, unless the Oftice, in its sole discretion, chooses
to reinstate prosecution pursuant to paragraphs 13 and 144 below. CSCM certifies that the funds
used to pay the Stipulated Forfeiture Amount are not the subject of any lien, security agreement, or
other encumbrance. Transferring encumbered funds or failing to pass clean title to these funds in
any way will be considered a breach of this Agreement.

7. CSCM agrees that the Stipulated Forfeiture Amount shall be treated as a
penalty paid to the United States government for all purposes, including all tax purposes. CSCM
agrees that it will not claim, assert, or apply for a tax deduction or tax credit with regard to any
federal, state, local, or foreign tax for any portion of the $400,000 that CSCM has agreed to pay to
the United States pursuant to this Agrecment.

Obligglion to Coo[:_lerate

8. CSCM agrees to cooperate fully with the Office, the Irttemal Revenue
Service (“IRS” , the Securities and Exchange Commission (“SEC”) and any other governmental
agency designated by the Office regarding any matter relating to the conduct described in the
Inforrnation or Statement of Facts, or any matter relating to the payday lending scheme perpetrated
by Tucker and the companies he owned and controlled

9. It is understood that CSCM shall (a) truthfully and completely disclose all
information with respect to the activities of CSCM and its oft'lccrs, agents, affiliates and employees
concerning all matters about which the 0fl`1ce inquires of it, which information can be used for any
purpose; (b) cooperate fully with the Office, IRS, the SEC and any other law enforcement agency
designated by the Office; (c) attend all meetings at which the Office requests its presence and use
its best efforts to secure the attendance and truthful statements or testimony of any past or current
officers, agents, or employees of CSCM at any meeting or interview or before the grand jury or at

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December lU, 2018

trial or at any other court proceeding; (d) provide to the Oft'lce upon request any document, record,
or other tangible evidence relating to matters about which the Oftice or any designated law
enforcement agency inquires of it; (e) assemble, organize, and provide in a responsive and prompt
fashion. and upon request, on an expedited schedule, all documents, records, information and other
evidence in CSCM’s possession, custody or control as may be requested by the Oflice, IRS, the
SEC, or designated law enforcement agency; (f) volunteer and provide to the Office any information
and documents that come to CSCM’s attention that may be relevant to the Ofiice’s investigation of
this matter, any issue related to the Statement of Facts, and any issue that would fall within the
scope of the duties of the independent consultant (the “Consultant”) referred to in paragraph 19; (g)
provide testimony or information necessary to identify or establish the original location,
authenticity, or other basis for admission into evidence of documents or physical evidence in any
criminal or other proceeding as requested by the Office, IRS, the SEC or designated governmental
agency, including but not limited to information and testimony concerning the conduct set forth in
the Information and Statement of Facts; (h) bring to the Office’s attention all criminal conduct by
CSCM or any of its agents or employees acting within the scope of their employment related to
violations of the federal laws of the United States, as to which CSCM’s Board of Dircctors, senior
management, or United States legal and compliance personnel are aware; (i) bring to the Oft'tce’s
attention any administrative, regulatory, civil or criminal proceeding or investigation of CSCM or
any agents or employees acting within the scope of their employment; and (j) commit no crimes
whatsoever under the federal laws of the United States subsequent to the execution of this
Agreement.

10. CSCM agrees that its obligations pursuant to this Agreement, which shall
commence upon the signing of this Agreement, will continue for two years from the date of the
Court’s acceptance of this Agreement, unless otherwise extended pursuant to paragraph 15 below.
CSCM’s obligation to cooperate is not intended to apply in the event that a prosecution against
CSCM by this Oft`ice is pursued and not deferred

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11. ln consideration of CSCM’s entry into this Agreement and its commitment
to: (a) accept and acknowledge responsibility for its conduct, as described in the Statement of Facts
and the Information; (b) cooperate with the Office, IRS, the SEC, and any other law enforcement
agency designated by this Office; (c) make the payments specified in this Agreernent; (d) comply
with Federal criminal laws (as provided herein in paragraph 9); and (e) otherwise comply with all
of the terms of this Agreement, the Oflice shall recommend to the Court that prosecution of CSCM
on the information be deferred for two years from the date of the signing of this Agreement. CSCM
shall expressly waive indictment and all rights to a speedy trial pursuant to the Sixth Amendment
of the United States Constitution, Title 18, United States Code, Section 3161, Federal Rule of
Crirninal Procedure 48(b), and any applicable Local Rules of the United States District Court for
the Southern District of New York for the period during which this Agreernent is in effect.

12. lt is understood that this Off'lce cannot, and does not, agree not to prosecute
CSCM for criminal tax violations. However, if CSCM fully complies with the terms of this
Agreement, no testimony given or other information provided by CSCM (or any other information
directly or indirectly derived therefrom) will be used against CSCM in any criminal tax prosecution.

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Douglas R. Jensen, E.sq.
December 10, 2018

ln addition, the Oflice agrees that, if CSCM is in compliance with all of its obligations under this
Agneement, the Offtce will, within thirty (30) days after the expiration of the period of deferral
(including any extensions thereol), seek dismissal with prejudice as to CSCM of the lnformation
filed against CSCM pursuant to this Agreement. Except in the event of a violation by CSCM of
any term of this Agreement or as otherwise provided in paragraph 13, the Office will bring no
additional charges against CSCM, except for criminal tax violations, relating to its conduct as
described in the admitted Statement of Facts. This Agreement does not provide any protection
against prosecution for any crimes except as set forth above and does not apply to any individual
or entity other than CSCM. CSCM and the Ofi'lce understand that the Agreement to defer
prosecution of CSCM can only operate as intended if the Court grants a waiver of the Speedy Trial
Act pursuant to 18 U.S.C. § 3161(h)(2). Should the Court decline to do so, both the Office and
CSCM are released from any obligation imposed upon them by this Agreement, and this Agreement
shall be null and void, except for the tolling provision set forth in paragraph 13.

13. lt is further understood that should the Office in its sole discretion determine
that CSCM has: (a) knowingly given false, incomplete or misleading information either during the
term of this Agreement or in connection with the Office’s investigation of the conduct described in
the Information and Statement of Facts, (b) committed any crime under the federal laws of the
United States subsequent to the execution of this Agreement, or (c) otherwise violated any provision
of this Agreement, CSCM shall, in the Office’s sole discretion, thereafter be subject to prosecution
for any federal criminal violation, or suit for any civil cause of action, of which the Office has
knowledge, including but not limited to a prosecution or civil action based on the lnformation, the
Statement of Facts, the conduct described therein, or perjury and obstruction of justice. Any such
prosecution or civil action may be premised on any information provided by or on behalf of CSCM
to the Office, lRS, or the SEC at any time. In any such prosecution or civil action, it is understood
that: (a) no charge or claim would be time-barred provided that such prosecution or civil action is
brought within the applicable statute of limitations period, excluding the period from the execution
of this Agreement until its termination; (b) CSCM agrees to toll, and exclude from any calculation
of time, the running of the applicable statute of limitations for the length of this Agreement starting
from the date of the execution of this Agreement and including any extension of the period of
deferral of prosecution pursuant to paragraph 15 below; and (c) CSCM waives any objection to
venue with respect to any charges arising out of the conduct described in the Statement of Facts and
consents to the filing of such charges in the Southem District of New York. By this Agreement,
CSCM expressly intends to and hereby does waive its rights in the foregoing respects, including
any right to make a claim premised on the statute of limitations, as well as any constitutional,
statutory, or other claim concerning pre-indictment delay. Such waivers are knowing, voluntary,
and in express reliance on the advice of CSCM’s counsel.

14. lt is further agreed that in the event that the Oft'rce, in its sole discretion,
determines that CSCM has violated any provision of this Agreement, including by failure to meet
its obligations under this Agreement: (a) all statements made or acknowledged by or on behalf of
CSCM to the Office, IRS or SEC, including but not limited to the Statement of Facts, or any
testimony given by CSCM or by any agent of CSCM before a grand jury, or elsewhere, whether
before or after the date of this Agreement, or any leads from such statements or testimony, shall be
admissible in evidence in any and all criminal proceedings hereinafter brought by the Office against

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December 10, 2018

CSCM; and (b] CSCM shall not assert any claim under the United States Constitution, Rule l l(t)
of the Federal Rules of Criminal Procedure, Rule 410 of the Federal Rules of Evidence, or any other
federal rule, that statements made or acknowledged by or on behalf of CSCM before or after the
date of this Agreement, or any leads derived therefrom, should be suppressed or otherwise excluded
from evidence. It is the intent of this Agreernent to waive any and all rights in the foregoing
respects.

15 . CSCM agrees that, in the event that the Ofl'tce determines during the period
of deferral of prosecution described in paragraph 1 1 above (or any extensions thereof) that CSCM
has violated any provision of this Agreement, an extension of the period of deferral of prosecution
may be imposed in the sole discretion of the Ofiice, up to an additional one year, but in no event
shall the total term of the deferral-of-prosecution period of this Agreement exceed three (3) years.
Any extension of the deferral-of-prosecution period extends all terms of this Agreement for an
equivalent period.

16. CSCM, having truthfully admitted to the facts in the Statement of Facts,
agrees that it shall not, through its attorneys, agents, or employees, make any statement, in litigation
or otherwise. contradicting the Statement of Facts or its representations in this Agreement.
Consistent with this provision, CSCM may raise defenses and/or assert affirmative claims and
defenses in any proceedings brought by private and!or public parties as long as doing so does not
contradict the Statement of Facts or such representations Any such contradictory statement by
CSCM, its present or future attomeys, agents, or employees shall constitute a violation of this
Agreemcnt and CSCM thereafter shall be subject to prosecution as specified in paragraphs 133
through 144, above, or the deferral-of-prosecution period shall be extended pursuant to paragraph
15, above. The decision as to whether any such contradictory statement will be imputed to CSCM
for the purpose of determining whether CSCM has violated this Agreement shall be within the sole
discretion of the Oftice. Upon the Office's notifying CSCM of any such contradictory statement,
CSCM may avoid a finding of violation of this Agreement by repudiating such statement both to
the recipient of such statement and to the Office within two business days after having been
provided notice by the Offtce. CSCM consents to the public release by the thice, in its sole
discretion, of any such repudiation Nothing in this Agreement is meant to affect the obligation of
CSCM or its officers, directors, agents or employees to testify truthfully to the best of their personal
knowledge and belief in any proceeding

l'?. CSCM agrees that it is within the Oft`rce’s sole discretion to choose. in the
event of a violation, the remedies contained in paragraphs 13 and 14 above, or instead to choose to
extend the period of deferral of prosecution pursuant to paragraph 1515, provided. however, that if
CSCM‘s violation of this Agreement is limited to an untimely payment of the Stipulated Forfeiture
Amount, the Ofi'lce may elect instead to choose the additional financial penalties set forth in
paragraph 6, above. CSCM understands and agrees that the exercise of the Office's discretion under
this Agreement is unreviewable by any court. Should the Office determine that CSCM has violated
this Agreement, the Oflice shall provide notice to CSCM of that determination and provide CSCM
with an opportunity to make a presentation to the Office to demonstrate that no violation occurred,
or, to the extent applicable, that the violation should not result in the exercise of those remedies or

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Douglas R. Jensen, Esq.
December lD, 2018

in an extension of the period of deferral of prosecution, including because the violation has been
cured by CSCM.

CSCM’s BSA/AML Comgliance Program

18. CSCM shall implement and maintain an effective Bank Secrecy Act
(“BSA")!anti-money-iaundering compliance program in accordance with the BSA, its
implementing regulations, and the directives and orders of any United States regulator of CSCM,
including without limitation the SEC. It is understood that a violation of the BSA arising from
conduct exclusively occurring prior to the date of execution of this Agreemcnt will not constitute a
breach of CSCM’s obligations pursuant to this Agreernent. However, there shall be no limitation
on the ability of the Office to investigate or prosecute such violations and/or conduct in accordance
with the applicable law and the other terms of this Agreement, including paragraph 12 hereof.

Indegendent Consultant

19. To address issues related to the Statement of Facts and Information, and to
ensure that CSCM complies with the BSA and its implementing regulations, CSCM agrees to retain
an independent consultant on the terms and conditions set by the SE.C.

Limits of this Agreement

20. It is understood that this Agreement is binding on the Offlce but does not
bind any other Federal agencies, any state or local law enforcement agencies, any licensing
authorities, or any regulatory authorities However, if requested by CSCM or its attorneys, the
Oftice will bring to the attention of any such agencies, including but not limited to any regulators,
as appticable, this Agreement, the cooperation of CSCM, and CSCM‘s compliance with its
obligations under this Agreement.

Sale or Merger of CSCM

21. Except as may otherwise be agreed by the parties hereto in connection with
a particular transaction, CSCM agrees that in the event it sel|s, merges. or transfers all or
substantially all of its business operations as they exist as of the date of this Agreement, whether
such sale is structured as a sale, asset sale, merger, or transfer, it shall include in any contract for
sale, merger or transfer a provision binding the purchaser, or any successor in interest thereto, to
the obligations described in this Agreernent.

Public Fiiing

22. CSCM and the Off'tce agree that, upon the submission of this Agreement
(including the Statement of Facts and other attachments) to the Court, this Agreelnent and its
attachments shall be filed publicly in the proceedings in the United States District Court for the
Southern District of New York.

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Douglas R. Jensen, Esq.
December 10, 2018

23. The parties understand that this Agreement reflects the unique facts of this
case and is not intended as precedent for other cases.

Execution in CounterErts

24. This Agreement may be executed in one or more counterparts, each of
which shall be considered effective as an original signature Further, all facsimile and digital
images of signatures shall be treated as originals for all purposes

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Douglas R. Jensen, Esq.
December 10, 2018

Iot_eg;atiog Clause

25. This Agreernent sets forth all the terms of the Deferred Prosecution
Agreernent between CSCM and the Ol"lice. No modifications or additions to this Agteernent shall
be valid unless they are in writing and signed by the Offioe, CSCM’s attomeys, and a duly
authorized representative of CSCM.

GEOFFREY S. BERMAN
United States Attomey
Southern District ofNew York

Andrew C. Adams
Assistant United States Attorney

Lisa gm L\(,__

LtsA zoRNBERG “
Chief, Criminal Division

 

 

Accepted and agreed to:
J. Daniél Stepp \"

Central States Capital Marltets, LLC

/%_,/ Q»-~

Douglas R. Jensen, lisq.
Attorney for Central States Capital Marltets, LLC

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EX. A

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/“\l»~ ,r>
Centra States

Capital Markets

 

RESOLUTION OF MANAGING DlRECTORS
OF CENTRAL STATES CAPlTAL l\‘IARKE'l"Sl LLC

IT IS HEREBY RESOLVED, by the below-named managing directors of Central States
Capita| Markets, LLC (the “Company"), that the Company is authorized to enter into the
Deferred Prosecution Agreement dated December `10, 2018 with the United States Attorney’s

Of`t`rce for the Southern District of New York, to which this Resolution is attached as Exhibit A.

C'P@__O/@‘Z

kJ./t)aniel stef»p

 

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EX. B

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

_________________ X
UNITED STATES OF AMERICA
INFORMATION
”V'_.
18 Cr.
CENTRAL STATES CAPITAL
MARKETS, LLC,
Defendant. :
_________________ X
COUNT ONE

(Willful Failure to File a Suspicious Activity Report
In Violation of the Bank Secrecy Act)

The United States Attorney charges:

l. From at least in or about 2012 up to and including in
Or about 2017, CENTRAL STATES CAPITAL MARKETS, LLC {“CSCM"), the
defendant, did willfully fail to report suspicious transactions
relevant to a possible violation of law or regulation as
required by the Secretary of the Treasury, to wit, CSCM
willfully failed to timely report suspicious banking activities
of Scott Tucker, who used CSCM to launder millions of dollars of
proceeds from an illegal payday lending scheme.

(Title 31, United States Code, Sections 5318 end 5322;
Title 31, Code of Federal Regulations, Section 1023.320.)

"~ § i§r.,s_._ / §
GEOFFREY S. BERMAN
United States Attorney

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Form No. USA~33s-2?4 (Ed. 9-25~58)

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
¢- v- _¢
CENTRAL STATES CAPITAL MARKETS, LLC,

Defendant.

 

INFORMATION
18 Cr.

(3l U.S.C. §§ 5318 and 5322
31 C.F.R. § 1023.320l

GEOFFREY S. BERMAN
United States Attorney.

 

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EX. C

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Statement of Facts

 

This Statement of Facts is incorporated by reference as part of the Deferred Prosecution
Agreement (the “Agreement”) between the United States Attorney’s Office for the Southern
District of New York (“USAO”) and Central States Capital Markets, LLC (“CSCM”). The parties
agree and stipulate that the following information is true and accurate:

Overview

l. CSCM is a broker-dealer and investment advisor based in Prairie Village, Kansas.
During the relevant time period, CSCM was registered with the Securities and Exchange
Commission (“SEC”) as a broker-dealer, municipal advisor, and investment adviser. According
to CSCM’s financial statements, in 2016, the firm had approximately $3.8 million in revenues and
net losses of approximately $600,000.

2. As discussed below, CSCM willfully failed to tile a Suspicious Activity Report
(“SAR”) concerning transactions involving Scott Tucker (“Tucker”), a client, despite knowing,
suspecting, or having reason to suspect that Tucker was using CSCM to launder proceeds from an
illegal payday lending scheme. In doing so, CSCM violated a provision of the Bank Secrecy Act,
31 U.S.C. § 5322(a).

The Bank Secrecv Act’s Recuirernents

3. The Currency and Foreign Transactions Reporting Act (known as the “Banl<
Secrecy Act” or “BSA”), Pub. L. 91~508, Tit. II, 34 Stat. 1118, codified at 31 U.S.C. §§ 5311-
5332, requires broker-dealers like CSCM to take steps to “guard against” being used for money
laundering or other crimes.

4. To that end, the BSA and its implementing regulations require, among other things,
that broker-dealers “report any suspicious transaction relevant to a possible violation of law or
regulation.” 31 U.S.C. § 5 318(g)(l). In particular, a broker-dealer is required to tile a SAR every
time it “knows, suspects, or has reason to suspect that . . . [t]he transaction involves funds derived
from illegal activities” or that the “transaction has no business or apparent lawful purpose[.]” 31
C.F.R. § 1023.320(a)(2).

CSCM’s Relationship with Scott Tucker

5. On October 13, 2017, Tucker and his attorney, Tirnothy Muir, were convicted after
trial in the United States District Court for the Southern District of New York ot`racketeering, wire
fraud and money laundering for their roles in perpetrating a massive payday lending scheme As
the jury found, from in or about the late 1990s through in or about 2013 , through various companies
that he owned and controlled (the “Tucker Payday Lenders”), Tucker extended short-term, high-

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interest, unsecured loans, commonly referred to as “payday loans,” to individuals around the
country at interest rates as high as 700% or more and in violation of the usury laws of numerous
states, including New York. Tucker sought to inoculate himself against applicable usury laws by
entering into a series of sham relationships with certain Native American tribes (the “Tribes”) in
order to conceal his ownership and control of the Tucker Payday Lenders and gain the protection
of tribal sovereign immunity - a legal doctrine that generally prevents states from enforcing their
laws against Native American tribes. To effectuate his scheme, Tucker assigned nominal
ownership of his payday lending companies to certain corporations created under the laws of the
tribes (the “Tribal Companies”).

6. In April 2012, CSCM opened investment accounts for multiple Tribal Cornpanies.
The account funds were held at another firm that provided custodial and clearing services (the
“Clearing Firm”) to CSCM. In the account opening documents, Tucker’s brother Blaine
(“BTucker”) was granted full trading authorization for each of the Tribal Companies’ accounts,
but the space on the forms for identifying BTucker’s relationship with the Tribal Companies was
left blank. Tucker was not given any authority or otherwise mentioned in the account opening
forms.

7. In August 2012, CSCM opened a personal account for Tucker and an account for
BA Services, LLC, an entity he owned and controlled ln his account opening documents,
Tucker identified himself as an employee of another tribal company involved in the payday
lending business In September 2012, CSCM opened a personal account for BTucker.

8. In November 2012, the Miami Tribe of Oklahoma (the “Miami”) withdrew
B'l`ucker’s signature authority for the Tribal Companies associated with the Miami, and the
Santee Sioux Tribe of Nebraska (the “Santee Sioux”) added the requirement of a signature from
a tribal official for transactions in the account of the Tribal Company associated with the Santee
Sioux. ln March 2013, the Miami reinstated BTucker’s authorization

CSCM’s Willful Failure to File a SAR in Violation of the BSA

9. At all relevant times, CSCM had written policies, procedures, and controls, and
designated its Chief Executive Officer (the “CEO”) as its Anti-Money Laundering (“AML”)
Compliance Officer. Therefore, under CSCM’s written supervisory procedures, the CEO had “full
responsibility for the continual development and enforcement of [CSCM’s] AML program,”
including, among other things, “monitoring for compliance of all AML areas by all employees,”
“internal [SARs] investigations,” “flling of SARS,” “ensuring that any other background checks
undertaken are accomplished and documented,” and “ensuring that all documented and/or non-
documented client identification is appropriately maintained in client files.”

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10. CSCM’s written supervisory procedures required that a customer’s identity be
verified when opening a new account For commercial entities, CSCM’s policies required the
collection of “infonnation sufficient to determine the corporate or business entity’s identity and
the authority of its business representative to act on its behalf.”

l l. Under CSCM’s written supervisory procedures, CSCM was required to file a SAR
for any account activity involving $5,000 or more when it knew, suspected, or had reason to
suspect that the transaction (1) involved funds derived from illegal activity or was “derived from
illegal activity as part of a plan to violate or evade federal law or regulation,” (2) was designed to
evade any requirements of the BSA regulations, (3) had no business or apparent lawful purpose or
was not the sort in which the customer would normally be expected to engage in, or (4) involved
the use of CSCM to facilitate criminal activity.

12. To detect suspicious transactions, CSCM’s written supervisory procedures
provided that “[f]or any transactions involving a clearing firm, [CSCM] will monitor through the
clearing tirm’s automated exception reports for unusual size, volume, pattern or type of
transaction.” The C]earing Firm made available to CSCM reports and electronic alerts designed
to detect suspicious transactions CSCM’s policies also identified various red flags, including for
example a “customer (or a person publicly associated with the customer) [that] has a questionable
background or is the subject of news reports indicating possible criminal, civil or regulatory
violations.”

Ineffective KYC Due Diligence

13. CSCM failed to follow its written customer identification procedures and did not
act upon red flags prior to opening investment accounts for the Tribal Companies. CSCM
discussed opening these accounts exclusively with Tucker and BTucker (the “Tuckers”). Although
CSCM received account opening documents signed by tribal officials granting BTucker
authorization over the accounts, CSCM routinely dealt with and took direction from Tucker
concerning the management of funds in the Tribal Companies’ accounts based solely on Tucker’s
oral assertions that he was a “consultant” to the Tribes. At no point did CSCM obtain written
verification of Tucker’s authority over the accounts.

14. CSCM also disregarded red flags that were known prior to opening the accounts
ln March 2012, Tucker explained to the CEO that he was involved in the payday lending business
and that he had approached certain Native American tribes to operate the payday lending business
in order to take advantage of the tribes’ sovereign immunity. Tucker further explained that the
payday lending business had generated large cash reserves and that he was approaching CSCM
because the business’s existing bank, a small bank based in Florida (the “Florida Bank”), had asked
Tucker to move excess accumulations of cash because of certain regulatory requirements it was
unable to meet. Neither the CEO, nor anyone at CSCM, attempted to verify this explanation

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15. Shortly thereafter, CSCM also became aware of additional red flags concerning the
Tuckers and the Tribal Companies. Specifically, CSCM learned that Tucker had been convicted
of fraud in 1991 and, separately, found news reports from as early as 201 l alleging that the Tuckers
were engaging in a “rent-a-tribe” scheme in which the Tribal Cornpanies were used by the Tuckers _
to claim ownership and control over the payday lending businesses in order to exploit the Tribal
Companies’ ability to assert sovereign immunity as a defense to charges that the payday lending
business violated state usury laws CSCM also became aware of an action brought by the Federal
Trade Comrnission (“FTC”) against the Tuckers and the Tribal Cornpanies, among others, for
engaging in unfair business practices which included allegations that the Tribal Companies were
not protected by sovereign immunity. CSCM, including its CEO, did not act upon these red flags
because Tucker assured CSCM that the FTC action would soon be resolved and all challenges
brought by state regulators had been unsuccessful due to sovereign immunity.

CSCM Failed to Renort Susnicious Transactions In the Accounts

16. CSCM failed to monitor any transactions using Actimizc, an AML tool that was
made available to CSCM by the Clearing Firm. Between December 2011 and December 2015,
Actimize generated 103 alerts but CSCM never checked any of the alerts, made any attempt to
customize Actimize’s default parameters or undertook a review to ensure that this tool was
sufficient for its specific monitoring needs or was being appropriately utilized. Further, although
the Clearing F irm furnished CSCM with the ability to generate a report reflecting, among other
things, the identities of third parties transferring funds via wire transactions to CSCM account
holders, CSCM never generated such reports -

l'i'. Numerous suspicious transactions went undetected and unreported by CSCM. For
example, between December 21, 2012 and March 13, 2013, 18 wire transfers totaling $40,518,000
were sent from Florida Bank accounts in the names of Tribal Companies to Tucker’s personal
CSCM account. The transfers were in even dollar amounts and on several occasions, two different
Tribal Companies, associated with different tribes, transferred the same dollar amounts, on the
same day, to Tucker’s personal CSCM account. CSCM never asked Tucker or the Tribal
Companies about any of these transactions

18. On March 4, 2013, CSCM processed a 59 million wire from Tucker’s personal
CSCM account to another financial institution, which Tucker had informed CSCM was for the
payment of his taxes According to reports of the asset movement processing system used by
CSCM, CSCM employees were presented, during the course of processing the wire, with two
AML rule violations triggered by the transaction CSCM processed the wire without investigating
the violations or reporting the wire to the appropriate authorities

19. In addition, Actimize generated AML alerts for certain transactions that occurred
on March 12 and 13, 2013, but because CSCM never accessed this software, the alerts were- not
checked. CSCM did not file a SAR with respect to any of these transactions

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The Clearing Firm Closed the Tucker and Tribal Companies Accounts and
CSCM Worked To Find Another Firm to Maintain Custodv of the Accounts

20. In or about March 2013, the Florida Bank decided to terminate its ACH processing
program, including its banking relationship with the Tucker Payday Lenders, and required Tucker
to move the funds from their operating accounts to another institution In mid-March 2013, the
Tuckers approached CSCM about opening additional, operating accounts for the 'l`ribal Companies
on its platform to replace the Florida Bank. CSCM agreed to consider opening these accounts
even though operating accounts were outside the scope of CSCM’s normal business activity as a
broker-dealer and investment advisor. Anticipating that the Clearing Firm might raise concerns
with the expected activity in these operating accounts, CSCM contacted the Clearing Firrn to
discuss the additional accounts

21. CSCM, including the CEO, discussed the Tuckers and the Tribal Companies with
the Clearing Firm’s AML officers during a conference call on March 2?', 2013. CSCM’s
description of the Tuckers, the Tribal Companies, and their payday lending business caused the
Clearing Firm’s AML officers to raise concerns and pose questions to CSCM about all of the
accounts associated with the Tuckers and Tribal Companies including the investment accounts
already maintained on the Clearing Firm’s platform. According to the AML officers, CSCM was
not fully forthcoming in answering their questions which contributed to their concerns Following
the discussion, CSCM’ s relationship partner responsible for these accounts (the “Partner”) sent the
Tuckers an email describing the call with the Clearing Firm in which the Partner said “[o]ur
conversations regarding these accounts were very generic. Other than disclosing that these were
tribal accounts we did not get into the nature of their business Had they asked we would have '
been as brief as possible in our description.”

22. According to the Clearing Firm’s AML officers, after the March 27 call, they
notified the CEO that the Clearing Firrn was “not comfortable” with the Tucker and Tribal
Companies accounts ~ with the new operating accounts and the preexisting investment accounts -
and asked that CSCM not send hinds to the new accounts until it had time to consider the AML
concerns the accounts raised. Nevertheless, CSCM allowed approximately $82.1 million in new
funds to be transferred into these new accounts

23. In an April 3, 2013 email to CSCM, one of the Clearing Firm AML officers shared
findings of additional research he had done regarding Tucker and his businesses and included
links to online sources indicating that Tucker was engaged in a “rent~a-tribe” scheme with the
Tribal Companies, and revealing that he had Served time in prison for fraud, was the Subject of a
civil RICO suit, and had been sued by the FTC. According to the AML officer, he also orally
reported other facts that he found suspicious: (1) that a payday lending business controlling over
$200 million in cash would use a local bank in Florida, especially because neither the Tuckers,

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based in Kansas, nor the Tribal Companies based in Oklahorna and Nebraska, had any apparent
connection to Florida; and (2) that the place of business for one of the Tribal Companies which
had over $100 million in cash and securities in its accounts at the time, appeared to be a trailer.

24. CSCM’s email in response to the AML Officer’s April 3 email did not address
concerns over whether the Tuckers truly controlled the Tribal Companies’ funds and focused
instead on the fact that state courts had upheld the Tribal Companies’ assertion of sovereign
immunity The CEO stated “[t]hrough our research we found, read, and digested the articles you
included in your email_as well as countless others before accepting any account.” Regarding the
state suits the CEO said “[w]e acknowledge that these people/organizations have been
investigated/sued by various regulatory/'legal entities . . . To the best of our knowledge, at this
point all such efforts have been thwarted by the courts or resolved by legal agreements with the
agency involved.” Regarding the FTC suit, the CEO said “[t]he issue with the [FTC] was resolved
through negotiation and an agreement was signed with them in January 2013.” (Although that
agreement set conditions for the Tucker Payday Lenders’ ongoing operations the merits of the
case continued to be litigated and in September 2016 resulted in a $1.3 billion judgment against
Tucker.) The CEO assured the Clearing Firm that, due to limitations placed on the accounts no
funds could be transferred directly to a third party. The CEO also remarked that, “[i]n summary,
we feel that while this Pay Day Loan industry might be unpopular in various venues, it is a thriving
industry_revenues of almost $4 billion last year. No legal objection to this point has been upheld
to substantially interfere with its operation.”

25 . Later in April 2013, the Clearing Firm notified CSCM of its decision to close all of
the Tucker and Tribal Companies accounts and directed that all the funds in those accounts be
moved off its platform. Per Tucker’s instructions CSCM did not inform any tribal officials when
the Clearing Firm ordered that the Tribal Companies’ accounts be closed and moved off the
Clearing Firm’s platform.

26. CSCM approached multiple financial institutions to assist the Tuckers in finding a
new custodian for the funds As part of that effort, the Partner approached a contact at an
investment bank (the “Investment Bank”). In his communications with the Investment Bank, the
Partner did not mention the Tuckers and represented that the Clearing Firm “agreed no red flags
were raised at [the Clearing Firm] over the past year and ultimately agreed there was [sic] no AML
issues .. . [h]owever, from a social standpoint, [the Clearing Firm] did not wish to be involved with
anyone in the payday lending business and the potential negativity that may arise from that
business.” The CEO commented that the Partner’s email had not “mentioned Tucker and the
historical items that also swayed [the Clearing Firm’s] decision process” and stated that “l feel that
is material information and should be disclosed as part of our discussion.” The Partner responded
that he would do so “if [the Investment Bank] agree to consider the accounts” and added that he
had not yet heard from the Investment Bank’s representativel The CEO responded “Good job.”
Ultimately, the Investment Bank determined not to open accounts for the Tribal Companies

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27. Ultimately, CSCM identified a Kansas-based state-chartered trust company (the
“Trust Company”) that agreed to custody the Tucker and rI`ribal Companies accounts and permit
CSCM to continue to act as an investment adviser in connection with those assets In an email
informing the Tuckers of the development, the Partner stated the following:

[The CEO] and l have found a permanent solution to your
problem. No longer will we have to worry about hiding your
business or diversifying your assets to avoid concern and
uncertainty We will be eager to meet with you guys when you get
back to explain our solution and get this process moving We
believe it will offer you and the Tribes a great deal of comfort,
security, and support to your business We appreciate your
patience with us during this time and the opportunity to again find
solutions to the challenges you have presented us with. We hope
this news will add a little more horsepower to your weekend!

In the same email chain, the CEO stated “[a]s [the Partner] indicated, we are very pleased with our
proposed solution to our common issue. lt is one that is simple, safe, user friendly, and long term.
By the time you return, we should have all the documentation in order and will be able to move

expeditiously.”

28. By the end of May 2013, all of the funds associated with the Tuckers and the Tribal
Companies had been transferred from the Clearing Firm to the Trust Company. CSCM continued
to serve as an investment adviser to the Tuckers and the Tribal Companies until the unsealing of
the criminal indictment against Tucker on February 10, 2016.

29. Despite producing documents in connection with the criminal investigation and its
awareness of the indictment, CSCM did not file a SAR until December 10, 201 8, after Tucker was

convicted at trial.

